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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



 UNITED STATES OF AMERICA,                     )       CASE NO. 4:04CR245 (Def. #12)
                                               )
                        Plaintiff,             )      JUDGE PETER C. ECONOMUS
                                               )      Magistrate Judge George J. Limbert
                v.                             )
                                               )
 HUBERT A. MANIGAULT,                          )       REPORT AND RECOMMENDATION
                                               )       OF MAGISTRATE JUDGE
                        Defendant.             )



        Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

 George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of

 a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim

 record of the proceedings to be prepared, referring the matter for presentence investigation, and

 submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

 accepted and a finding of guilty entered. The following, along with the transcript or other record of

 the proceedings submitted herewith, constitutes the Magistrate Judge’s Report and

 Recommendation concerning the plea of guilty proffered by Defendant.



        1.      On August 3, 2005, Defendant Hubert A. Manigault, accompanied by Attorney

 John P. Parker, proffered a plea of guilty.
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        2.      Prior to such proffer, Defendant Hubert A. Manigault was examined as to his

 competency, advised of the charges and consequences of conviction, informed that the Court is

 not bound to apply the Federal Sentencing Guidelines but must consult the guidelines and take

 them into consideration when it imposes the sentence, notified of his rights, advised that he was

 waiving all of his rights except the right to counsel, and, if such were the case, his right to appeal,

 and otherwise provided with the information prescribed in Fed. Crim. R. 11.



        3.      The parties and counsel informed the Court that there was a written, signed plea

 agreement between the parties. The undersigned was advised that no commitments or promises

 have been made by any party, and no other agreements, written or unwritten, have been made

 between the parties.



        4.      The undersigned questioned Defendant Hubert A. Manigault under oath about the

 knowing, intelligent and voluntary nature of the plea of guilty, and the undersigned believes that

 Defendant Hubert A. Manigault’s plea was offered knowingly, intelligently, and voluntarily.



        5.      The parties provided the undersigned with sufficient information about the

 charged offenses and Defendant Hubert A. Manigault’s conduct to establish a factual basis for

 the plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes

 that Defendant Hubert A. Manigault’s plea was knowing, intelligent and voluntary and all

 requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been


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 satisfied. Accordingly, the undersigned recommends that the plea of guilty be accepted and a

 finding of guilty be entered by the Court.



                                                          /s/George J. Limbert
 Date: August 3, 2005                                   George J. Limbert
                                                        United States Magistrate Judge



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
 Court within ten (10) days of service of this notice. Failure to file objections within the specified
 time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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